     Case 20-14108-ABA            Doc 13 Filed 04/14/20 Entered 04/14/20 08:01:25                     Desc OSC
                                   Pay Installment or Miscell Page 1 of 2
Form oscmlfee − oscmlfeev27

                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
401 Market Street
Camden, NJ 08102

                                         Case No.: 20−14108−ABA
                                         Chapter: 7
                                         Judge: Andrew B. Altenburg Jr.

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Paula Minassian
   3101 Boardwalk
   Tower II # 2112
   Atlantic City, NJ 08401
Social Security No.:
   xxx−xx−3835
Employer's Tax I.D. No.:


                              ORDER TO SHOW CAUSE WHY CASE SHOULD NOT BE
                               DISMISSED FOR FAILURE TO MAKE INSTALLMENT
                              PAYMENT(S) OR PAY MISCELLANEOUS FILING FEES

     The Court having noted that:

             An order directing the payment of filing fees in installments was entered in the above case, and that the
payment due on 4/13/20 in the amount of $ 85.00 has not been received by the Clerk,

             The debtor filed a on that requires the payment of a fee in the amount of $ , and that the fee has not
been received by the Clerk,

     It is hereby ORDERED that:

The debtor or debtor's attorney must appear at a hearing to be held before the Honorable Andrew B. Altenburg Jr. on:

    Date: May 19, 2020
    Time: 10:30 AM
    Location: Courtroom 4B, Mitchell H. Cohen Courthouse, 1 John F. Gerry Plaza, 400 Cooper Street, Camden,
NJ 08101−2067

to show cause why the case should not be dismissed.

     If all required fees are filed with the Clerk before the hearing date, this Order to Show Cause will be vacated
and no appearance is required.

     Any motion or other objection that is filed will be considered a Motion for Extension of Time to File Schedules,
Statements, and Other Documents under Fed. R. Bankr. P. 1007(c), and will be scheduled by the court to be heard on
the same date and time as this Order to Show Cause.

     Unless all required fees are filed before the hearing date on this Order to Show Cause, you must appear at the
hearing. FAILURE TO APPEAR AT THE HEARING WILL RESULT IN DISMISSAL OF THE CASE.




Dated: April 14, 2020
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JAN: bc

                                   Andrew B. Altenburg Jr.
                                   United States Bankruptcy Judge
